Case 2:22-cv-00547-MJH Document 102 Filed 07/28/23 Page 1 of 4

IN THE UNITED STATES DISTRICT COURT FOR
THE WESTERN DISTRICT OF PENNSYLVANIA

RENEE ZINSKY,
Plaintiff,

vs.

MICHAEL RUSSIN, RUSSIN FINANCIAL,
RUSSIN GROUP, SIMON ARIAS, III, ARIAS
AGENCIES, S.A. ARIAS HOLDINGS, LLC,
AMERICAN INCOME LIFE INSURANCE
COMPANY,

Defendants.

Civil Action

No, 2:22-cv-547

PLAINTIFF’S SUPPLEMENTAL
RESPONSE AND RETRACTION TO
DEFENDANT’S MOTION FOR
SANCTIONS

FILED ON BEHALF OF PLAINTIFF

Counsel of Record for This Party:

Janice M. Savinis, Esquire
PA ID #51943

John R. Kane, Esquire
PA ID #83771

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Case 2:22-cv-00547-MJH Document 102 Filed 07/28/23 Page 2 of 4

IN THE UNITED STATES DISTRICT COURT FOR
THE WESTERN DISTRICT OF PENNSYLVANIA

RENEE ZINSKY, Civil Action
Plaintiff, No. 2:22-cv-547
VS.

MICHAEL RUSSIN, RUSSIN FINANCIAL,
RUSSIN GROUP, SIMON ARIAS, III, ARIAS
AGENCIES, S.A. ARIAS HOLDINGS, LUC,
AMERICAN INCOME LIFE INSURANCE
COMPANY,

Defendants.

PLAINTIFF’S SUPPLEMENTAL RESPONSE AND RETRACTION

TO DEFENDANT’S MOTION FOR SANCTIONS
AND NOW comes Plaintiff, Renee Zinsky, by and through her attorneys, Amy
Williamson, Esquire, John R. Kane, Esquire and the law firm of Savinis, Kane, & Gallucci,
L.L.C. and files the following supplemental response and retraction to the motion for sanctions:
1. In paragraph 20 of Plaintiff's response to Defendant Arias’ Motion for Sanctions,
It should also be noted that this affidavit was also used in conjunction with

Plaintiff's EEOC claim, and was submitted in that matter by the Defendant
AIL.

2. The undersigned counsel was not involved in the EEOC claim, with he and his firm having
only entered their appearance in this matter this summer. In making the above
representation, counsel reviewed a document production, specifically Zinsky 004520
through 004563, which had an EEOC submission by AIL, along with six exhibits. Based
on the document production it appeared as though the affidavit of Ms. Hemingway was

included in AIL’s Exhibit 6 to that submission. The documents produced purported to
Case 2:22-cv-00547-MJH Document 102 Filed 07/28/23 Page 3 of 4

indicate that the above representation in paragraph 1 (from original paragraph 20 of
Plaintiffs response) herein was correct.

. However, on this day, July 28, 2023, the undersigned was contacted by counsel for AIL,
requesting the origin of the above representation. After relaying the above information,
counsel for AIL convinced the undersigned that the representation was not accurate, and
could not be accurate, based on the dates of the EEOC submission and the affidavit,
regardless of how things may have appeared from the documents produced at

Zinsky004520 through Zinsky004563.

. As aresult of the above, Plaintiff hereby retracts paragraph 20 of Plaintiff's Response to
Defendant Arias’ Motion for Sanctions. Counsel concedes that the Hemingway affidavit

was not submitted to the EEOC by AIL. Counsel apologizes for the error.

Respectfully Submitted,

J ohn Kane, Esquire

Case 2:22-cv-00547-MJH Document 102 Filed 07/28/23 Page 4 of 4

CERTIFICATE OF SERIVCE

I, John R. Kane, Esquire, hereby certify that a true and correct copy of Plaintiff's

Supplemental Response and Retraction to Defendant Arias’ Motion for Sanctions was

electronically served upon counsel of record on this 28" day of July 2023 via email, addressed as

follows:

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bho

John R. Kane, Esq.
Attérney for Plaintiff

